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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           NEWNAN DIVISION

MICHAEL STEWART and
SHANNON HOWARD,

        Plaintiffs,
                                                Civil Action Number:
   v.                                           3:13-cv-00208-TCB

TROUP COUNTY, GEORGIA and
JAMES WOODRUFF, in his official
capacity as Sherriff of Troup County,

        Defendants.

              STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiffs and Defendants, by and through undersigned counsel, hereby

stipulate and agree that the above-captioned action be dismissed with prejudice

pursuant to Fed. R. Civ. P. 41(a)(1), with the parties to bear their own costs.



Respectfully submitted: January 7, 2014

                                              /s/ Jeff Kerr
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                                            /s/ Donald W. Benson /s/
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